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                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

                                                                             )
    In re:                                                                   )    Chapter 11
                                                                             )
    RED REEF ALTERNATIVE INVESTMENTS, LLC and                                )    Case No. 20-12602 (BLS)
    EMERGENT CAPITAL, INC.,1                                                 )
                                                                             )    Jointly Administered
                                      Debtors.                               )    Ref. Docket No. 4
                                                                             )

             ORDER AUTHORIZING CONTINUED MAINTENANCE OF EXISTING
                 DEPOSIT ACCOUNT AND GRANTING RELATED RELIEF

                   Upon consideration of the Debtor Emergent Capital, Inc.’s Motion of for Order

Authorizing Continued Maintenance of Existing Deposit Account and Granting Related Relief

(the “Motion”);2 and this Court finding that (a) there is good and sufficient cause for the relief

granted in this Order; (b) this Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; (c) this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and (d)

due and adequate notice of the Motion was given under the circumstances; and after due

deliberation and cause appearing therefor;

    IT IS HEREBY ORDERED THAT:

                   1.       The Motion is GRANTED as set forth herein.

                   2.       The Debtor is authorized to: (a) designate and maintain, with the same

account number, the Account in existence as of the Petition Date; and (b) treat the Account for

all purposes as a debtor in possession account.

1  The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



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                   3.   First National Bank is authorized to continue to service and administer the

Account as a debtor in possession account without interruption and in the usual and ordinary

course of business; provided, however, that any check that the Debtor advises to have been

drawn or issued by the Debtor before the Petition Date may be honored only if specifically

authorized by order of this Court.

                   4.   Except as modified by this Order, the Debtor’s existing agreements with

First National Bank and with respect to the transfers to and from the Account shall continue to

govern the postpetition cash management relationship between the Debtor and First National

Bank. In the course of providing cash management services to the Debtor, First National Bank is

authorized, without further order of this Court, to continue to deduct from the Account routine

and ordinary course fees and expenses associated with the nature of the deposit and cash

management services rendered to the Debtor, including those arising prior to the Petition Date.

                   5.   Within fifteen (15) days of the date of entry of this Order, the Debtor shall

contact First National Bank, and provide it with the Debtor's employer identification number,

and identify the Account held at such bank as being held by a debtor in possession in a

bankruptcy case, and provide the case number.

                   6.   First National Bank is party to a Uniform Depository Agreement in a form

prescribed by the Office of the United States Trustee and therefore the requirements of 11 U.S.C.

§ 345(b) have been satisfied.




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                   7.    Nothing contained herein shall prevent the Debtor from closing the

Account as it may deem necessary and appropriate, and the Debtor shall give notice of the

closure of such Account to the U.S. Trustee.

                   8.    The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by

the contents of the Motion.

                   9.    Nothing herein shall, or is intended to, (i) create any rights in favor of or

enhance the status of any claim held by any party; (ii) alter or impair any security interest or

perfection thereof, in favor of any person or entity, that existed as of the Petition Date; or (iii)

permit the Debtor to use the funds in the Account for any purpose other than as explicitly set

forth in Paragraph 4 herein without further order from the Court.

                   10.   The notice requirements under Bankruptcy Rule 6004(a) and the stay

under Bankruptcy Rule 6004(h) are hereby waived, to the extent that they apply.

                   11.   This Order shall be served promptly by the Debtor on First National Bank

and all parties in interest who were served by the Motion and all other parties who file a request

for notice under Bankruptcy Rule 2002.

                   12.   This Court shall retain jurisdiction to hear and determine all matters

arising from the enforcement, implementation, or interpretation of this Order.




Dated: October 16th, 2020                       BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
Wilmington, Delaware                            JUDGE




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